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                                 UNITED STATES DISTRICT COURT W. D. OF WASHINGTON AT TACOMA

 1
         UNITED STATES OF AMERICA,
                                               Plaintiff,                        Case No. CR09-5703BHS
 2
                            v.
 3
         LAWANDA ARETTA JOHNSON,                                                 DETENTION ORDER
 4
                                               Defendant.
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 6
     THE COURT, having conducted a detention hearing pursuant to 18 U.S.C. §3142, finds as follows:
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     1) No condition or combination of conditions which defendant can meet will reasonably assure the appearance of the defendant as
     required and/or the safety of any other person or the community. This finding is based on 1) the nature and circumstances of the
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     offense(s) charged, including whether the offense is a crime of violence or involves a narcotic drug; 2) the weight of the evidence
     against the person; 3) the history and characteristics of the person including those set forth in 18 U.S.C. § 3142(g)(3)(A)(B); and 4)
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     the nature and seriousness of the danger release would impose to any person or the community.
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     2) No less restrictive condition or combination of conditions will reasonably assure the appearance of the defendant as required
     and/or the safety of any other person and the community, including but not limited to those conditions set forth in 18 U.S.C.
11
     3142(c)(1)(B).
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     3) Detention is presumed, without adequate rebuttal, pursuant to 18 U.S.C 3142(e) (if noted as applicable below):
      ( )    Conviction of a Federal offense involving a crime of violence. 18 U.S.C.§3142(e)(f)
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      ( )    Potential maximum sentence of life imprisonment or death. 18 U.S.C.§3142(e)(f)
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     4) Safety Reasons Supporting Detention (if noted as applicable below):
      ( )     Defendant is currently on probation/supervision resulting from a prior offense.
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      ( )     Defendant was on bond on other charges at time of alleged occurrences herein.
      ( )     Defendant’s prior criminal history.
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      (X) Nature of allegations.
17
     Flight Risk/Appearance Reasons Supporting Detention (if noted as applicable below):
      ( )      Defendant’s lack of community ties and resources.
18
      ( )     Bureau of Immigration and Customs Enforcement Detainer.
      ( )      Detainer(s)/Warrant(s) from other jurisdictions.
19
      ( )      Failures to appear for past court proceedings.
      (X)      Court views the defendant as a flight risk.
20
                                                               Order of Detention
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     The defendant shall be committed to the custody of the Attorney General for confinement in a corrections facility separate, to the
     extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal, without prejudice to review.
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     <        The defendant shall be afforded reasonable opportunity for private consultation with counsel.
     <        The defendant shall on order of a court of the United States or on request of an attorney for the Government, be delivered
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              to a United States marshal for the purpose of an appearance in connection with a court proceeding. This Order is entered
              without prejudice to review.
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                                                                        November 4, 2009.



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                                                                        J. Richard Creatura, United States Magistrate Judge
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     DETENTION ORDER
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